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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

                        Plaintiff,

        v.                                              Civil Action No. 3:15-cv-675 (JBA)

 IFTIKAR AHMED,

                        Defendant, and

 IFTIKAR AHMED SOLE PROP; et al
                                                         March 04TH, 2020
                        Relief Defendants.


     DEFENDANT’S RESPONSE IN OPPOSITION TO THE “FOURTH INTERIM
    APPLICATION FOR PROFESSIONAL FEES AND EXPENSES INCURRED BY
          THE RECEIVER AND HIS PROFESSIONALS” [DOC. #1474]


       The pro se Defendant submits this Response in Opposition [“Fourth Opposition”] to the

Receiver’s “Fourth Interim Application for Professional Fees and Expenses Incurred by the

Receiver and his Professionals.” [Doc. #1474, or the “Fourth Application”]. The Defendant

reserves all rights to all issues and fully incorporates his prior Oppositions [Doc. #1183 or the

“First Opposition”] and Sur-Reply [Doc. #1222-1 or the “Sur-Reply”]; [Doc. #1261 or the

“Second Opposition”] and [Doc. #1354 or the “Third Opposition”] into this Opposition.

       The Court must deny the Fourth Application for the same reasons as the Defendant

outlined in his First, Second and Third Oppositions to Receiver’s First, Second and Third Fee

Applications: the Receiver’s fees are excessive, duplicative, unreasonable and unjustified; the

Receiver has not provided any benefit at all to the Receivership Estate to justify such excessive

and unjustified expenses but instead has caused substantial losses to the Estate by way of

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hundreds of thousands of dollars; the Order Appointing Receiver is under appeal; the Receiver is

proven beyond any reasonable doubt to be a biased party and an agent of the Plaintiff; the Court

has no jurisdiction to impose additional penalties on the Defendant alone and thus create a

perverse incentive by paying the Receiver out of funds or assets above the judgment amount; it is

inequitable for the Court to pay a Receiver who solely benefits the public (and not the

Defendant) out of funds belonging to the Defendant when the Court has repeatedly denied funds

for counsel to the Defendant (in violation of his due process rights) and even for his medical

treatment for cancer despite the Receiver’s own confirmation of tens of millions of dollars of

assets over and above the judgment amount.

       The Defendant reserves all rights to all issues and does not waive any right by way of this

Fourth Opposition or his earlier Third and Second Oppositions, his earlier First Opposition or

Sur-Reply.



I.     FIRST OPPOSITION AND SUR-REPLY, SECOND OPPOSITION AND THIRD
       OPPOSITION.

       The Defendant incorporates his complete First Opposition [Doc. #1183] and Sur-Reply

[Doc. #1222-1], his complete Second Opposition [Doc. #1261], and his complete Third

Opposition [Doc. #1354] into this Fourth Opposition. For the convenience of the Court, the

Defendant does not repeat the arguments here (and fully incorporates those arguments from his

First, Second and Third Oppositions and his Sur-Reply, and refers the Court to his First, Second

and Third Oppositions and his Sur-Reply), but the Defendant opposes the Receiver’s Fourth

Application for the same reasons as outlined in his First Opposition and Sur-Reply and his

Second and Third Oppositions and also addresses additional reasons in this Fourth Opposition.




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II.    THE RECEIVER’S FEES ARE NOT JUSTIFIED IN THIS CASE.

        The Defendant incorporates and reiterates his position that a Receiver was not needed in

this instant case and the Receiver’s Fees are not justified in this case. In addition, the Receiver

has created no economic benefit to the Estate during the time period under the Fourth

Application, but has rather cost the Estate a substantial amount of money and the Court must

look at attorney’s fees as a loss to the Estate.1

        “[A]mong the factors considered by the Court in exercising its discretion to determine the

appropriate award of fees is the cost-efficiency of the Receiver's work in terms of assets

recovered for victims, see SEC BILLING INSTRUCTIONS at 26, “the complexity of problems faced,

the benefits to the receivership estate, the quality of the work performed, and the time records

presented,” SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973).” See

SEC v. Illarramendi, Civil No. 3:11CV78 (JBA), at *3 (D. Conn. Dec. 5, 2013). Under these

factors, the Receiver’s fee request is outrageously excessive and unjustified.

        First, the Receiver did not have to recover any assets for the alleged victim, as by his

own admission the value of the frozen assets greater than the Judgment amount by tens of

millions of dollars [Doc. #1474-10 at 6].

        Second, as the Defendant has made clear, there is no complexity in managing assets that

are mostly liquid and real estate (and additional assets that are managed by others) and that are

tens of millions of dollars above the Judgment amount. Yet, the Receiver astonishingly invoices

over $46,000 to the Defendant and has done nothing to provide any economic benefit to the

Estate during this time. The Receiver has not provided any benefit to the Estate during this time,




1
 “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery while
minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v. Aquacell
Batteries Case No. 6:07-cv-608-Orl-22DAB, at *9 (M.D. Fla. Jan. 31, 2008)
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but has rather lost substantial value to the Estate by way of requesting his excessive and

unjustified fees, by being reactive rather than proactive and by continuing to oppose actions that

would add value to the Estate. Defendant delves into this further, but the Receiver has spent 17

hours2 and billed nearly $4,000 during this compensation period – for matters concerning the

eviction of the illegal tenant in Apartment 12F owned by the Relief Defendants. Adding in the

hours and fees of MSNH results in a total of nearly 40 hours and 22% of the total amount billed

on this matter alone during the compensation period. This does not even include the fees and

expenses that the Relief Defendants have had to incur related to this issue.

        Had the Receiver addressed this matter prior to the expiration of the lease, the Estate

would not have bear the additional expenses of: (1) non-payment by the illegal tenant; (2)

additional attorney fees – by the Relief Defendants and the Receivership Estate to deal with this

issue; and (3) additional attorney fees to employ someone to deal with the eviction process.

        By way of another example, during this compensation period, the Receiver has spent yet

an additional 11 hours and billed over $2,800 for matters concerning the transfer of the Harry

Winston earrings by the Relief Defendants’ former counsel. Again, this issue should have been

dealt with when the Receiver was first appointed rather than nearly a year later. By way of yet

another example, the Receiver, having been alerted to unauthorized trades in Ms. Ahmed’s

Fidelity accounts, scrambles to determine what has happened and belatedly confirms the no-trade

status with the various firms. The Receiver has spent an additional 33 hours and billed over

$7,500 on this issue alone. The Receiver should have confirmed the no-trade status for the

accounts right after his appointment. This has cost the Estate by way of (1) trading fees and



2
 In all instances in this Opposition where Defendant provides hours and costs, the Defendant has
eyeballed the invoice entries and has estimated these hours and amounts based on the description in the
various line items of the four invoices submitted and reserves the right to update them if new information
emerges.
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commissions; and (2) lost income by way of dividend payments from that investment, not

including any attorney fees spent on this issue.

        It is clear – simply by these three examples alone during this Compensation Period – that

the Receiver has created extreme inefficiency around the management of the assets and the

Estate and that has cost the Estate significantly by way of additional fees and waste of time and

resources of all parties involved.

        Third, the Receiver and his counsel continue to be inefficient with the management of

their time in this matter, and continue to invoice the Defendant for, inter alia, matters that are

premature to deal with at this time. The Defendant provides his objections to the time records

throughout this Third Opposition and gives additional detail in SECTION IX of this Third

Opposition, titled “SPECIFIC ITEMS AND/OR GROUPS OF ITEMS.”

        It is clear that the Receiver has done nothing during the Fourth Application that has

provided any economic benefit to the Estate – rather he has created significant loss to the Estate

during this time – and his application for fees must be denied on this basis alone.


III.    THE RECEIVER’S FEES CONTINUE TO BE EXCESSIVE RELATIVE TO THE
        DUTIES PERFORMED.

        The Defendant incorporates, reiterates and adds to his argument that the Receiver’s Fees

are Excessive for the Duties Performed. It is well known that the Receiver and his hired

professionals “must exercise proper billing judgment in seeking fees from the receivership estate,

and should limit their work to that which is reasonable and necessary.”3 The Receiver has not

only improperly billed the estate, but he has performed work that is unnecessary and frivolous

only to further invoice the Defendant.


3
  Aquacell Batteries, 2008 WL 276026, at *2. (“Part of ‘determining the nature and extent of the services
rendered’…includes an analysis as to the reasonableness of the services rendered,” and the expenses for
which reimbursement is sought must have been “actual and [] necessarily incurred.”).
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       First, any increase in the value of assets under the Receivership is a direct result of the

investment decisions made by parties’ other than the Receiver (such as the Defendant and Relief

Defendant Ms. Ahmed) and that were put into place years prior to any asset freeze. The Receiver

just cannot take any credit for any increase in the value of assets during this (or any other) time

period. If anything, the Receiver’s mismanagement of assets in this Estate has cost the Estate

significantly. For example, the continued insistence of the Receiver to refuse to rent out

Apartment 12A, owned by the Relief Defendants, has cost the Estate an astonishing $510,000 as

of the date of this submission. Apartment 12A has been vacant since October 1, 2018 and upon

information and belief, had and continues to have various tenants interested in renting the

apartment. However, the SEC and the Receiver have refused to rent the apartment, leading to a

significant loss in income to the Estate. Assuming $30,000/month in rental income since October

1, 2018 to March 1, 2020 yields a loss of $510,000 (and counting!) plus any interest earned on

those funds, for just Apartment 12A alone.

       Second, the Receiver’s invoiced amount of over $46,000 is excessive in a situation where

there are mostly liquid and near-liquid assets frozen, where there is no real active management

that needs to happen and where there are tens of millions of dollars of assets frozen above the

judgment amount.

       These invoices are all clearly unrealistic and excessive and a complete and

unnecessary drain on the Estate assets with no corresponding value produced. If anything,

the Receiver has cost the Estate significant monetary value that is unjustified and

unbelievable.

       Third, it is clear that the Receiver is inefficiently managing the Estate and is running it

into losses. Indeed, the loss of rental income from keeping Apartment 12A vacant, the additional

expenses and non-rental received from Apartment 12F, the unnecessary expenses related to the
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(yet to happen) transfer of Harry Winston earrings and the unnecessary expenses related to the

continued investigation of the Fidelity trade (which should not have happened in the first place)

translate into a significant amount of loss to the Estate – to the amount of well over $500,000 –

not even accounting for attorney fees to deal with all of these issues.

         Fourth, the Receiver does not know how to manage these assets. Indeed, he should have

dealt with the Apartment 12F situation before the lease expired (and had ample opportunity to do

so, but chose to ignore it, as Defendant explains later in this Opposition); he should have insisted

in January and February of 2019 for the transfer of Harry Winston earrings instead of completely

dropping the ball on that transfer in the beginning of his appointment; and he should have (and

still should) agree to rent the Apartment 12A, at least during the duration of the stay of

liquidation4 pending Supreme Court decision in Liu. In addition, the Receiver should have

confirmed the no-trade status of the various accounts when he was first appointed and not after

an unauthorized trade was made. Also, by not opposing the lift of litigation stay by third parties

against the Defendant and Relief Defendants, but by opposing the release of funds for the

Defendant and Relief Defendants to retain counsel in these proceedings, the Receiver has created

a situation whereby there has been significant motion practice (resulting in “concomitant cost to

the Receivership Estate” [Doc. #1477 at 4]) related to these issues alone. By not dealing with

these issues in a timely and proactive manner, the Receiver has caused the Estate to incur

unacceptable losses and fees – to the amount of almost $1,000,000 now, inclusive of the fees and

expenses that the Receiver is invoicing.

         Fifth, the Receiver is content to simply sit back and collect fees for doing nothing. It was

Defendant, when he was aware of the situation, who alerted the Court and the Receiver as to the



4
    Doc. #1346.
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unacceptability of the illegal tenant in Apartment 12F; it was the Defendant who alerted the

Receiver into the inappropriateness of Harris St. Laurent continuing to retain control over the

Relief Defendants’ Harry Winston earrings; it was the Relief Defendants who alerted the

Receiver as to the unauthorized trades and it is the Relief Defendants who are asking for the

apartments to be rented. Indeed, the Receiver is sleeping on the job and only when prodded to

and insisted by the Defendant (and Relief Defendants) to manage these assets in a manner

befitting the Estate, does he all of a sudden “wake up” and try to rectify the situation. By being

reactive instead of proactive, the Receiver, who has no experience managing these assets

(contrary to the Defendant and the Relief Defendants), has caused the Estate a significant loss.

        Sixth, the Receiver continues to simply outsource the administration of the Estate to his

counsel, who are charging exorbitant fees. As the Defendant has already explained in his prior

Oppositions, the Receiver is providing legal services to himself. As such, there is no need for

additional counsel for the Receiver, who is himself a lawyer and providing legal services.

Indeed, the Defendant, who is not a lawyer, has been forced to be pro se in this (and other)

proceeding(s), has been denied counsel throughout this entire litigation and has had to be and

continues to be pro se. It is just outrageously inequitable for the Court to provide counsel to the

Receiver (a lawyer with many decades of experience) and pay them (and him) from the

Defendant’s assets when the Court has denied the Defendant (who has no legal background at

all) the use of his own legally earned funds for the retention of counsel for himself. It is clear

that the Receiver is content to do nothing, as his hours are not even 3%5 of the total hours

incurred and his amount invoiced is less than 3% of the total invoices.




5
 The Receiver is 4.9 hours of the total 194.3 hours. The Receiver has billed $1,225 out of $46,167.60.
[Doc. #1474 at 5].
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        It is simply inequitable and outrageous that the Receiver, who is an attorney himself,

would (1) have counsel and (2) outsource all of his work to his counsel.

        Seventh, the Defendant is pro se and explains his opposition to certain groups or

classifications of the Receiver’s Fee Application throughout this Third Opposition, but also

specifically in SECTION IX of this Third Opposition, which is titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS.” This opposition to certain classifications or groups does not waive the

Defendant’s position that the Receiver’s fees should be substantially reduced, but as in the First

Opposition, Second Opposition and Third Opposition, is an addition to help the Court in

understanding the Defendant’s opposition to the payment of Receiver fees as requested in the

Fourth Application.



IV.     THE RECEIVER’S FEES MUST BE PAID FROM THE JUDGMENT AMOUNT
        AND THE ORDER IS UNDER APPEAL.

        The Defendant reiterates his position that if the Court believes that the Receiver should

be paid his fees, then they must be paid from within the Judgment amount and not be an

additional penalty on the Defendant. It also renders a preserve incentive – as has already been

depicted – whereby “the possibilities for abuse [are] limited only by the size of the estate” SEC.

v. Northshore Asset Mgt., 05 Civ. 2192 (WHP), at *3 (SDNY Sep. 29, 2009).

        As the Defendant has also already stated, it is highly inequitable for the Court to be

paying the Receiver from the Defendant’s legally earned funds when the Defendant himself has

been denied the use of those funds for his own purposes,6 including for the retention of counsel.




6
  See Almeida v. Holder, 588 F.3d 778, 788 (2d Cir. 2009) (“The rights and benefits of property
ownership are, after all, many... [T]hey include not only the right to actual possession of a thing, but also
the right to exclude others from possessing it, the right to use it and receive income from its use, the right
to transmit it to another...”).
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       The Defendant (and Relief Defendants) have briefed this issue of payment to the

Receiver coming from within the judgment amount and such is pending before the Court [Doc.

#1471, 1472]. In addition, as Defendant has stated, such payment is under appeal. The Court’s

ability to order payment pending appellate review of, inter alia, the Receiver’s payment has been

briefed and is pending before the Court [Doc. #1454, 1457].

       In addition, a ruling in the Supreme Court case Liu v. SEC could very well render a

different outcome than the current situation. Not only would the Receiver be personally liable for

the management of assets above the judgment amount (and the judgment could be reduced

materially based on the appellate courts’ rulings and now the Supreme Court’s review of

disgorgement in Liu), the appellate courts could rule that the Receiver must be paid from within

the Judgment amount for reasons including but not limited to: the Receiver does not represent

the Defendant’s interests, or the Estate’s interests, but rather, only the Judgment’s interests.

[Doc. #1471, 1472]


V.     THE RECEIVER IS A BIASED PARTY AND DOES NOT REPRESENT THE
       DEFENDANT, BUT RATHER HAS IRREVERSIBLY HURT AND DAMAGED
       THE DEFENDANT’S INTERESTS AS WELL AS THE ESTATE AS A WHOLE.

       The Receiver continues to be a partial party in this matter and it is clear that not only has

he harmed the Defendant, he has also harmed the Estate as a whole. The Receiver is only and

solely interested in securing the judgment amount only and does not care about the Estate as a

whole. The Defendant incorporates the entirety of his and Relief Defendants’ briefings here

[Doc. #1471, 1472].

       In addition, the Receiver has (finally!) admitted that excessive motion practice incurs

concomitant expense to the Estate [Doc. #1477 at 4]. Yet it is the Receiver who has created such

a situation by not opposing third party litigation against the Defendant and Relief Defendants and

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then opposing a release of funds for the Defendant and Relief Defendants to retain counsel in

those proceedings, which harms the Estate.

       In addition, the Receiver continues to take positions that are directly contrary to the

Defendant’s and the Estate’s interests during this time period covering the Fourth Application. It

is simply inequitable to force the Defendant and the Estate to pay for someone who takes an

adverse position to his/its’ own interests. For example, the Receiver has opposed Defendant’s

motions for release of attorney fees, yet does not oppose third-party litigation against the

Defendant, leading to additional motion practice and an increase in expense to the Estate. The

Receiver has also opposed renting Apt. 12A, which would add an additional income stream to

the overall Estate, preferring to keep it empty in case the Court orders liquidation. The

Receiver’s constant oppositions to these issues makes it clear that he does not know how to

manage or maximize the value of the Estate, contrary to his mandate in the Order Appointing

Receiver [Doc. #1070], and which has led to a significant loss to the Estate.

       Second, the Receiver continues to have discussions with the SEC, the Defendant’s

adversary in this case, on various issues in this matter and on updates regarding the Estate. Yet,

the Receiver does not have these discussions with the Defendant and indeed, it is the Defendant

(and the Relief Defendants) who are monitoring the assets and who are in touch with the

Receiver. The Defendant should not be paying for the Receiver’s conversations with the SEC

and he has billed nearly $3,000 to the Estate for such. To be clear, the Defendant does not mind

if the Receiver speaks to the SEC, as long as he and the Estate above the judgment are not

paying for it. Until this Court orders otherwise, the Defendant has every right to review and

opine on the Receiver’s fees, especially as the Court has not released any funds that Defendant

legally earned that are above the judgment amount for Defendant to retain legal counsel for

himself in any of his matters, but is instead using the Defendant’s own legally earned funds –
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which Defendant strongly opposes – to pay the Receiver who does not in any way benefit the

Defendant.

       The Receiver’s bias against the Defendant is well documented. And it continues into this

compensation periods as well. For example, on 11/15/2019, SMK had a conversation with the

SEC: “Telephone conference with Nicholas Heinke re: stay request by Ahmed” for 0.2 hours.

[Doc. #1474-4 at 8]. And then two days later, SMK “Further review(s) and revise(s) re:

Receiver’s objection to stay request” for 1.40 hours. Idem. It is clear that the Receiver’s counsel

is having conversations with the SEC prior to writing their responses (mostly objections) to the

Defendant’s motions. This is clear bias of the Receiver against the Defendant and for the SEC.


VI.    THE SEC’S SUPPORT FOR RECEIVER’S PAYMENT MUST BE IGNORED.

       The Defendant incorporates and reiterates his position that the SEC’s support for

payment to the Receiver must be ignored. Typically, "[O]pposition or acquiescence by the SEC

to the fee application will be given great weight." Byers, 590 F. Supp. 2d at 644 (quoting First

Ave. Coach Lines, 364 F. Supp. at 122). However, courts have stated that “[N]o statute compels

such a conclusion, however, nor do[es] [the Court] believe such great deference is warranted in

this instance.” In re Alpha Telcom, Inc., No. CV 01-1283-PA, at *6 (D. Or. Oct. 27, 2006).

       This Court should decline to give any weight to the SEC’s opinion in this Fourth Fee

Application, as the SEC’s opinion should be considered only in a situation where the amount of

assets collected is less than judgment amount or if this Court reimburses the Receiver from funds

encompassed within the judgment (within the $64.4MM amount). Otherwise, only the Defendant

and the Relief Defendant’s opinion must be given “entire weight,” if any payment is coming

from them and their assets above the judgment amount.




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        As in the First Application, Second Application, and Third Application, the Receiver has

confirmed “[T]he Commission has no objection to the relief sought herein” [Fourth Application

at 2]. This is to be expected, given the Court’s rulings that simply incentivize the SEC to

“rubber-stamp” the Receiver’s Fee Applications. The Court must decline to give any weight to

the SEC’s opinions on this Application.


VII.   THE RECEIVERSHIP MUST BE TERMINATED IMMEDIATELY.

        The Defendant incorporates and reiterates his position that the Receivership must be

terminated immediately. The Defendant has expressed multiple times that the Receiver was not

needed in this case and the Receiver is “costing” the Estate money, not generating the Estate any

value. It is clear during the time period covering this Fourth Application that the Receiver has no

idea of how to manage these assets and his inaction/misaction has cost the Estate significantly,

indeed rendered a significant loss by his inability to deal in a timely and proactive manner, inter

alia, with the tenant in Apartment 12F prior to the expiration of the lease, the Harry Winston

earrings and the secureness of the various accounts.

        Indeed, it is this Court that has stated that “fees requested are justified by the net

economic benefit that they will provide to the estate.” SEC v. Illarramendi, Civil No. 3:11cv78

(JBA), at *1 (D. Conn. Jan. 16, 2014). The Court must also look at the Receiver’s fees as a loss

to the Estate.7 The Receiver has provided was absolutely NO economic benefit to the Estate

during this period – indeed, there were only significant and unnecessary expenses that the

Receiver imposed on the Estate and significant losses by the Receiver’s actions/non-actions.




7
 “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery while
minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v. Aquacell
Batteries Case No. 6:07-cv-608-Orl-22DAB, at *9 (M.D. Fla. Jan. 31, 2008)
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       The Defendant will go into more detail in SECTION IX titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS” of this Fourth Opposition, but significant examples are:

       (i)     The billing to the Estate of dealing with the illegal tenant in Apartment 12F is
               excessive and outrageous and would not have been incurred if the Receiver had
               dealt with the tenant prior to the expiration of the lease in July 2019. This
               amount is nearly $4,000 in expenses to the Estate, not including the amount billed
               by the eviction attorney Mitofsky, Shapiro, Neville & Hazen, LLP (“MSNH”)
               (which is an additional $8,143) and not including any amount spent by the Relief
               Defendants’ attorneys on this issue. In addition, there is a loss of rental income as
               the illegal tenant has not paid any rent since July 2019.

       (ii)    The billing of over $10,000 for the Receiver to analyze and respond to the
               Defendant and Relief Defendants’ motions concerning third party litigation and
               associated attorney fees. This is directly caused by the Receiver’s no-position or
               lack of opposition to these third-party requests to litigate, and then his subsequent
               position of opposing a release of funds for the Defendant (and Relief Defendants)
               to have counsel in these matters.

       (iii)   The continued unnecessary billing of over $2,400 for tax issues when the
               Receiver has already concluded that “based upon the dollar amount and limited
               nature of the Receiver Estate… that he had no obligation to submit tax returns on
               behalf of the Defendant… [and] had no obligation to submit tax returns on behalf
               of the Relief Defendants or other taxable entities that are Receivership Assets.”
               [Doc. #1474 at 22]

       (iv)    The billing to the Estate of dealing with the transfer of the Harry Winston earrings
               is also excessive and should have been dealt with at the outset of the
               Receivership. It should not be that the Defendant has to alert the Receiver as to
               the physical transfer of those Earrings. This amount invoiced by the Receiver on
               this issue is nearly $2,800 and could have been substantially lower or even non-
               existent had the Receiver dealt with this issue months earlier.

       (v)     The billing to the Estate of dealing with the unauthorized trades in Ms. Ahmed’s
               Fidelity accounts. As soon as the Receiver was appointed, he should have
               confirmed that no trades of any kind could be effectuated in any account.
               However, the Receiver clearly “dropped the ball” and had to scramble after the
               fact to ensure compliance with Court Order. This amount is just over $7,500 and
               could have been substantially lower had the Receiver confirmed compliance with
               Court Order as soon as he was appointed.


       Just these examples alone are nearly 60% of the total invoice amount requested in the

Fourth Application. Indeed, the loss to the Estate by not renting out the apartments and keeping

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the tenant in Apartment 12F beyond the expiration of the lease and without the consent or

knowledge of the Defendant and the Relief Defendants is substantial. That the Receiver

blatantly condones such significant loss to the Estate – over $650,000 to date and counting, while

asking for his fees is glaring mismanagement of assets. The fact that the Receiver even billed for

these actions shows the mismanagement and abuse that ensues with the appointment of a

Receiver whereby “the possibilities for abuse [are] limited only by the size of the estate.” SEC. v.

Northshore Asset Mgt., 05 Civ. 2192 (WHP), at *3 (SDNY Sep. 29, 2009). This Court should not

allow that to happen.


VIII.    IN THE ALTERNATIVE, IF THIS COURT IS INCLINED TO GRANT FEES
         TO THE RECEIVER, IT MUST REDUCE THE FEES SUBSTANTIALLY AND
         IMPOSE A 100% HOLDBACK UNTIL ALL APPEALS ARE CONCLUDED.

        The Defendant believes that the Receiver should not be paid at all. Or that if he is paid,

he should be paid from within the Judgment amount and by those parties who are benefiting

from the Receiver – namely the Judgment and/or the SEC. [Doc. # 1471, 1472].

        In this Fourth Opposition, the Defendant incorporates and reiterates his position that “if

this Court is inclined to grant the Receiver’s fees (which the Defendant vehemently opposes), the

Court should apply a minimum of a 60% discount to the requested fees and withhold 100% of

the amount” as Courts have discretion to award the amount of compensation that can or will be

awarded to a court-appointed receiver. See SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y.

2008); United States v. Code Prods. Corp., 362 F.2d 669, 673 (3d Cir. 1966). For the Fourth

Application, the Defendant states that there should be a 60% reduction in the requested fees (as

opposed to the 50% or 70% reduction in the earlier Applications) and the Defendant details this

further in Section IX of this Opposition.




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       The Court should also hold any payment to the Receiver in abeyance until the final

conclusion of this matter when all appeals have been heard (if the Court keeps the Receivership

that long), as even the Receiver himself stated that “[O]verall results can be determined only at

the conclusion of the Receivership Proceeding.” [Doc. #1474 at 27] This case does not justify

the award of fees or expenses to the Receiver until any benefit that the Estate receives from him

is determined. So far, the Receiver has only incurred substantial losses to the Estate.

       Courts have allowed the “Receiver [to] apply for those fees at the conclusion of this

litigation. Withholding fees until the conclusion of the lawsuit assists the Court in achieving its

continuing goal of preserving funds held in the receivership estate for the compensation of the

investors. This approach is common in SEC civil enforcement actions because it allows the

Court to withhold fees until it is absolutely clear that a receiver’s efforts will ultimately benefit

the receivership estate. See SEC v. Byers, 590 F. Supp. 2d at 648. The Court derives the authority

to award such reduced fees from its power to “fix the compensation” of receivers and their

attorneys. Drilling, 69 F.2d at 418.” SEC v. Small Bus. Capital Corp. Case No. 5:12-CV03237

EJD, at *4 (N.D. Cal. Aug. 7, 2014). As such, the Court should wait until the conclusion of all

appeals before any fees or expenses are awarded to the Receiver so that any net economic benefit

(if any) from the Receiver’s actions can be determined and assessed.



IX.    SPECIFIC ITEMS AND/OR GROUPS OF ITEMS ON EXHIBITS TO THE
       FOURTH APPLICATION.

       As in his First, Second and Third Oppositions, the Defendant contests all of the

Receiver’s bills in his Fourth Opposition, but because he is pro se and uncertain of the proper

procedure regarding line items, the Defendant only gives some examples below to support his

opposition of the payment of any fees or expenses to the Receiver. Should the Court request a

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line item audit by the Defendant, the Defendant would provide such to the Court. The Defendant

reserves the right to bring additional issues on these invoices and exhibits, or any other matter

regarding the Receiver’s applications for fees and expenses, to the Court’s attention at a later

date in time.



       1.       Doc. #1474-3, or Exhibit C:

       First, as in his earlier Oppositions, the Defendant opposes all items in Doc. #1474-3 or

Exhibit C in this Fourth Opposition. These items that the Receiver is looking to have reimbursed

include: PACER expenses, online research expenses, Federal Express expenses, service fee,

subpoena fees, copying expenses, printing charges, postage, and conference call expenses.

       With respect to PACER and online research expenses, the Receiver does not explain what

documents he accessed from PACER and what online research resulted in these invoices.

Further, as indicated in the emails transmitting electronic filings in this case, the PACER system

permits parties to download for free a copy of all case-related documents. Further, the Court

denied the same relief that the Defendant requested toward payment of a $28.50 PACER bill,

stating that “[S]hould Defendant desire the additional benefit of viewing documents in other

cases or viewing documents in his case multiple times, he must bear that expense himself.” [Doc.

#773]. The Court must treat the Receiver the same way.

       In addition, the Defendant is not always able to download PACER documents when they

are filed and has asked the Court to order the parties to email him their filings, so that he is not

further prejudiced in this case [Doc. #1393]. Such request remains pending and lends further

support to the Defendant’s position that the Receiver should not be reimbursed from and by the

Defendant for PACER expenses, when the Defendant himself is not allowed to access the filings

from this case when there are download issues and when Defendant has been precluded from
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accessing PACER for other filings or research because the Court denied the payment of a

nominal $28.50 bill.

       Second, the Receiver does not specify the need for other services, such as copying. In

addition, because this Court also denied Defendant any amount for travel expenses, any aid with

conference call expenses and any aid with any of his attempts to litigate this case, any and all

expenses that the Receiver is requesting reimbursement for on Exhibit C (Doc. #1474-3) must

also likewise be denied or removed. The denial of these same or similar expenses for the

Defendant has severely prejudiced the Defendant and has adversely impacted him as he was not

able to properly litigate his case(s). The Court cannot allow the reimbursement of these expenses

to the Receiver from the Defendant’s assets.


       2.      Doc. #1474-4 to Doc. #1474-8, or Exhibits D-1 to D-5:

       First, the Receiver does not explain why two people were needed on any conversation

with other parties such as the SEC or the Relief Defendants, and why two attorneys were needed

for any communication, meeting, or discussion with any other party. Courts have reduced fees by

the amount charged for other people who attended a conversation, hearing or dealt

simultaneously with the same issue. See In re 29 Brooklyn Avenue, LLC, US Bankruptcy Court,

EDNY, April 27, 2016 (reducing fees paid when more than one attorney was present). Assuming

no more than one person was required, given at least two attorneys were always doing the same

work, the fee total must be reduced by at least 50% if not more for this reason alone.

       This continues to be concerning as the Receiver himself testified that his firm would not

“double-bill, even if it’s legitimate double-billing, in the sense of if two of us are dealing with

the same issue we only bill for one person’s time” [Doc. #1043 at 24:17-19, “Nov 28 Hr.




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Trans.”]; and yet when the bills are submitted, the Invoices show the exact opposite of what he

said.

        There are multiple instances of bills for multiple attorneys for the same issue (each

meeting, conference call, etc.), in the Fourth Application, but the Defendant provides just a few

examples8 for the Court’s benefit below:


        (i)     See SMK entry on 10/1/19 “Join part of conference call with commission re:
                miscellaneous issues ” for 0.50 hours versus CHB entry on 10/1/19 “Call with
                MW/NH (SEC) regarding outstanding receivership issues” for 1.20 hours [Doc.
                #1474-4 at 2]

        (ii)    See SMK entry on 10/31/19 “Call with SEC re: miscellaneous issues; further
                strategize re: same” for 0.50 hours versus CHB entry on 10/31/19 “2x calls with
                MW/NH (SEC) regarding outstanding receivership issues” for 1.00 hours [Doc.
                #1474-4 at 5]

        (iii)   See SMK entry on 11/12/19 “Telephone conference with SEC re: latest
                developments and issues” for 0.60 hours versus CHB entry on 11/12/19 “Call
                with MW (SEC) and SMK regarding outstanding receivership issues” for 0.60
                hours [Doc. #1474-4 at 7]


        Second, there are vague entries in the invoices whereby the Defendant does not know

what was done or discussed and Defendant provides several below by way of example:

        (i)     See CHB entry on 12/10/19 “Review Iftikar Ahmed response to notice re motion”
                for 0.20 hours [Doc. #1474-4 at 12]

        (ii)    See CHB entry on 12/10/19 “Attention to finalizing and filing notice re Iftikar
                Ahmed email” for 0.20 hours. Id.

        (iii)   See CHB entry on 12/10/19 “Review Iftikar Ahmed emails in connection with
                analyzing whether to draft reply to Iftikar Ahmed” for 0.20 hours. Id.

        (iv)    See SMK entry on 12/17/19 “Attention to various issues… responses to numerous
                pleadings)” for 0.30 hours


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  Should the Court want a line-by-line audit of each time that an entry is being charged twice by the same
individual, being double or triple billed as well as any further vague entries, Defendant would be happy to
provide such for the benefit of the Court.
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       Courts have reduced fees awarded by 75% due to such vague entries. “Such vague

entries warrant a reduction because they fail to provide “an adequate basis upon which to

determine the reasonableness of the services and hours expended on a particular matter.” Tucker

v. Mukasey, supra, 2008 WL 2544504 at *1.” See Spalluto v. Trump International Hotel Tower,

04 Civ. 7497 (RJS) (HBP), at *21 (S.D.N.Y. Aug. 29, 2008), reducing attorney’s time by 75%.

“It is well settled that supporting documentation for attorney's fees must be of sufficient detail

and probative value to enable the court to determine with a high degree of certainty that the

billing is reasonable.” Yelton v. PHI, Inc., No. 09-3144, 2012 WL 3441826, at *8 (E.D. La. Aug.

14, 2012) (internal quotations omitted). Litigants who submit vague fee applications “take their

chances” that those entries will be disallowed. League of United Latin American Citizens No.

4552 v. Roscoe ISD, 119 F.3d 1228, 1233 (5th Cir. 1997) (citing Louisiana Power & Light, 50

F.3d at 327).

       Third, the Receiver has spent an enormous amount of time – over 40 hours and billed

almost $10,300, over 22% of the total amount to respond to various filings related to third party

litigation. Such is entirely a direct outcome of the Receiver refusal to oppose such requests by

third or non-parties, while simultaneously opposing the requests for funds for counsel to

represent the Defendant and/or the Relief Defendant in such proceedings.

       Fourth, the Receiver has spent nearly 20 hours and billed almost $4,000 to deal with the

eviction of the illegal tenant in Apartment 12F. This increases drastically when adding in

MSNH’s billing – to the tune of nearly 40 hours and billing over $12,000 to deal with this issue.

Indeed, it was the Defendant who alerted the Receiver to the absolute unacceptability of the

situation. Had the Receiver dealt with this issue prior to the expiration of the Apartment 12F

lease, there would not be additional unnecessary billings and wasted resources on this issue.

Indeed, the Receiver unbelievably states that the “occupants of Apartment 12F… unexpectedly
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stayed passed [sic] the end of their lease term of July 14, 2019.” (emphasis added) [Doc. #1330

at 17]. Yet, the Receiver knew and allowed the illegal tenant to stay past the expiration of the

lease term on July 14th, 2019:

       (1) The Receiver blatantly ignored the building management’s request on June 17th, 2019
           asking if the tenant had renewed the lease. The Receiver should have at this time,
           communicated with the tenant and confirmed the expiration of the lease and vacancy
           of the Apartment 12F on July 15th. Yet, the Receiver completely mismanaged the
           entire matter with the illegal tenant in Apartment 12F by not communicating with the
           tenant.

       (2) The Receiver deliberately answered the building management’s next query on July
           26th, 2019 by stating that “[T]he Receiver will provide a copy of the renewal lease if
           such a renewal lease is entered into.”

       (3) The Receiver knew that the illegal tenant had stayed beyond the July 14th expiration
           as he was “[C]ontemplating that the 12F Occupants would vacate Apartment 12F
           since the term of their lease had just days earlier ended (on July 14, 2019)…” [Doc.
           #1249 at 4]. Tenants do not leave after the lease expires, but rather before the lease
           expires. The Receiver’s statement makes no sense at all, but shows that he absolutely
           knew and condoned the tenant staying beyond the lease, contrary to his statement that
           the tenant “unexpectedly” stayed beyond the lease expiration.

       (4) The Receiver accepted a check from the tenant dated July 9, 2019 – beyond the June
           15th rental deadline for the time period of June 15th – July 15th or ahead of the July
           15th expiration of lease. He accepted this check as “use and occupancy.” Thus, the
           Receiver very well knew that the tenant had stayed beyond the expiration of the lease.

       The Receiver did not communicate any of this to the Defendant at all or to the Relief

Defendants until he was confronted by them on this issue. The Receiver has completely

mismanaged the entire situation with the tenant in Apartment 12F and that has caused significant

loss to the Estate (indeed, the tenant is still squatting in the apartment, there has been not been

full payment since July 2019 (and it is now March 2020) and there has had to be a retention of an

eviction lawyer to deal with this situation) and there is still no settlement agreement or action

that has commenced on the eviction process.

       Fifth, the Receiver has spent over 10 hours and billed almost $2,800 to deal with the

transfer of the Harry Winston earrings from Harris St. Laurent (“HS”) to his custody and control.
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It is absurd that again, it is the Defendant who alerted the Receiver in the summer 2019 to the

situation that the earrings must be under his custody and not HS’ custody. Because the Receiver

dropped the ball in dealing with this issue when he was first appointed, it is costing the Estate a

significant amount of money to deal with this issue now. And it is still not resolved.

       Sixth, in yet another example where the Receiver has been reactive instead of proactive,

he has spent over 32 hours and over $7,500 on trying to resolve the unauthorized trades in Ms.

Ahmed’s Fidelity accounts. The Receiver was appointed to manage the assets and part of that

includes checking with each firm ahead of time when the Receiver was first appointed a year ago

in December 2018 with the safeguards the firms have in place and ensuring that they understood

the Court’s Orders regarding no trades without Court Order. Indeed, not one unauthorized trade

happened prior to the Receiver being appointed. Had the Receiver been proactive instead of

reactive, we would not be in this situation.

       Seventh, the Receiver continuously misstates that his “primary duty [is to]… value assets

and liquidate such assets… to secure the Judgment” [Doc. #1474 at 26]. That is but one of the

objectives and stands in equal importance to the others that are listed: “given the need to value

the frozen assets and avoid over-freezing, to secure the Judgment for the SEC, to manage and

maximize the value of the frozen assets… and to take necessary steps toward effectuating the

judgment…” (emphasis added) [Doc. #1070 at 5]. Tellingly, the Receiver ignores that his

mandate to “avoid over-freezing” and “manage and maximize the value of the frozen assets” is

just as important as what he considers his “primary duty.”

       Indeed, the Receiver has a duty to manage and maximize the value of the frozen assets

and opposing the rental of the apartments and allowing for third party litigation has done the

exact opposite. The Receiver continues to misunderstand his mandate and nowhere has the Court

ever stated that any liquidation is the primary objective of the Receivership and it is simply
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astonishing that the Receiver unilaterally presumes so. This presumption has driven all of the

Receiver’s actions to secure the judgment, but at the expense of the overall Estate and he has

thus mismanaged and harmed the overall Estate (and continues to do so) as the value of the

overall Estate is tens of millions of dollars above the judgment amount.

       The Court must remove these charges from the invoice as they simply unnecessarily

drain the assets of the Estate, especially before the Court has made any liquidation rulings and

now with the stay of liquation in place [Doc. #1346].

       Eighth, the Receiver continues to spend an unnecessary number of hours on tax issues

and has billed over $2,400 when he has already “concluded based upon the dollar amount and

limited nature of the Receivership Estate… that he is not required to submit separate tax returns

for the Defendant or the Relief Defendants.” [Doc. #1160 at 24]. There is no reason for the

Receiver to have anything to do with the Defendant and the Relief Defendants’ tax returns and

the Receiver himself admits that “he had no obligations to submit tax returns on behalf of the

Defendant… the Receiver had no obligation to submit tax returns on behalf of the Relief

Defendants or other taxable entities that are Receivership Assets.” [Doc. #1474 at 22]. Neither

the Defendant nor the Relief Defendants have tax counsel and the Receiver has no right or

entitlement to view any of their tax returns, especially as he admits the “strong statutory

protections that afford significant privacy to a person’s tax returns” [Doc. 1330 at 21]. Should

the Receiver continue to waste and unnecessarily spend time on this issue, funds must be

released for the Defendant and the Relief Defendants to consult with tax counsel prior to the

release of any of their tax returns to anyone.

       The Receiver is presumably experienced as a Receiver and there is no need, once he has

concluded that he does not need to file taxes for the Defendant and Relief Defendants, that he



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continues to have discussions, research, and draft motions on such topic and continue to bill the

Defendant for it. Any amount related to taxes must be removed from the invoicing.

       Thus, these unnecessary amounts listed here add up to nearly 60% of the amount

invoiced and must be removed from the billing. The amount invoiced for this time period is

excessive and unjustified. If the Court still feels that this should be paid, then it must be paid

from the within the Judgment and/or paid by the SEC.

       These are just many examples of why the Defendant opposes any payment of fees to the

Receiver. See Code Prods. Corp., 362 F.2d at 673 (“In allowing fees the considerations are the

time, labor and skill required, but not necessarily that actually expended, in the proper

performance of the duties imposed by the court upon the receivers, the fair value of such time,

labor and skill measured by conservative business standards, the degree of activity, integrity and

dispatch with which the work is conducted and the result obtained.”). A full (but expensive and

unnecessary) audit of the Receiver’s timekeeping and records – which the Defendant is happy to

do himself for the Court should the Court request it – will likely reveal many such excessive and

unnecessary invoicing and unjustified expenses incurred by the Receiver.


       3.      Doc. #1474-9, or Exhibit D-6:

       The pro se Defendant consents to the payment of $10,698.00 to Mitofsky, Shapiro,

Neville & Hazen, LLP (“MSNH”) from the rental proceeds of Apartment 12F only.

However, to date, there has been no agreement for date of eviction nor has the eviction

proceedings commenced and most of the amount invoiced is simply discussions between the

Receiver and MSNH. The Defendant reserves the right to oppose continued payment to MSNH

if there is no progress towards the eviction of the tenant from Apartment 12F.




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                                          CONCLUSION


       This Court should not allow the payment of excessive and unjustified fees to the Receiver

for the reasons stated herein. This Court has also been clear that “it recognizes the parties’

concerns regarding the potential cost of a receiver and shares their desire to avoid unnecessary or

high receivership costs” [Doc. #1070 at 5]. As the Defendant continues to reiterate, courts have

been very careful when granting attorney fee motions, especially those of a Receiver, who is

supposed to be retained for the benefit of the public. As stated by a Circuit Court on excessive

Receiver fees:


       “The $12,000 fee allowed appellee is more than the salary of a United States District
       Judge for an entire year. It is more than the salary of the most of the Governors or Judges
       of the Supreme Courts in the respective states of this country. In our judgment [sic] it is
       so exorbitant that its allowance must be held to be an abuse of the court's discretion. That
       there has grown up a judicial abuse in the allowance of excessive fees to masters,
       receivers, and attorneys in receivership cases cannot well be denied. The Supreme Court
       of the United States has called attention to this and sounded a note of caution and
       warning to the judges of the federal courts in the case of In re Gilbert, 276 U.S. 294, 296,
       48 S. Ct. 309, 310, 72 L. Ed. 580, as follows: “We were desirous of making it clear by
       our action that the judges of the courts, in fixing allowances for services to court
       officers, should be most careful, and that vicarious generosity in such a matter could
       receive no countenance.” And in Newton v. Consolidated Gas Co., 259 U.S. 101, 42 S.
       Ct. 438, 439, 66 L. Ed. 844, in passing on the compensation of a master the Supreme
       Court points out that, “The rights of those who ultimately pay must be carefully
       protected.” There seems to have developed an idea that lawyers are entitled to more
       compensation when employed in a receivership case than they would think of charging if
       employed by a private client for similar services. There is no reason for any difference in
       charges. Counsel should be allowed fair and reasonable compensation in receivership
       matters. There is no reason why they should be overpaid.” (emphasis added).

                               Federal Oil Marketing Corporation v. Cravens, 46 F.2d 938, 943
                               (8th Cir. 1931).


       The same is absolutely true in this instant case. The Receiver has not shown that the fees

and expenses he incurred from October 1, 2019 through December 31, 2019 were a productive

use of the Estate’s assets, or that they were cost-efficient and ultimately beneficial to the Estate.
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If anything, the Receiver has mismanaged the assets, causing a significant loss to the overall

Estate (against his clear mandate) and has been reactive instead of proactive. Given the Court’s

understanding and desire to “avoid unnecessary or high receivership costs” and the Receiver’s

mandate to “manage and maximize the value of frozen assets” [Doc. #1070 at 5] with the “dual

objects of maximizing the value of the assets of the Receivership Estate and minimizing the

expenses charged hereunder…” [Doc. #1070 at 7], which he has not done, the Court should

deny the Receiver’s Fourth Application.

         WHEREFORE, the Defendant humbly requests the esteemed Court deny the Receiver’s

Fourth Application; or in the alternative, impose an additional 60% discount and a 100%

holdback until the conclusion of all appeals in this case, and for any such fees to be paid from

within the judgment by those parties that are benefiting from the appointment of Receiver and

not the Defendant.



                                              Respectfully Submitted,



Dated:         March 04TH, 2020               /s/ Iftikar Ahmed
                                              ____________________________
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